       Case 1:25-cv-00532-TNM            Document 18        Filed 02/24/25      Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 ASSOCIATED PRESS,

                          Plaintiff,

                          v.                           Case No. 1:25-cv-00532 (TNM)

 TAYLOR BUDOWICH, in his official
 capacity as White House Deputy Chief of
 Staff, et al.

                          Defendants.


                                              ORDER

       Plaintiff, the Associated Press, moved for a temporary restraining order against

Defendants, various White House officials. The Associated Press asks the Court to prevent the

White House officials from limiting its “access to the Oval Office, Air Force One, and other

limited spaces.” ECF No. 2. A party seeking a temporary restraining order must make a “clear

showing that four factors, taken together, warrant relief: likely success on the merits, likely

irreparable harm in the absence of preliminary relief, a balance of the equities in its favor, and

accord with the public interest.” League of Women Voters of United States v. Newby, 838 F.3d 1,

6 (D.C. Cir. 2016).

       The Court has considered each of these four factors in light of the parties’ briefs and the

arguments presented by each side at a hearing on February 24, 2025. The Court finds that the

Associated Press has not made the requisite showing and will thus deny the motion. The Court

has already ordered expedited briefing on the Associate Press’s separate request for a

preliminary injunction.

       For these reasons, it is hereby
      Case 1:25-cv-00532-TNM        Document 18     Filed 02/24/25    Page 2 of 2




       ORDERED that Plaintiff’s [2] Motion for Temporary Restraining Order is DENIED.

       SO ORDERED.




                                               /s/ Trevor N. McFadden
Dated: February 24, 2025                       TREVOR N. McFADDEN, U.S.D.J.




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